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                                          No. l5-586C
                                    (Filed: October 30, 2015)
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                                 **NOT FOR PUBLICATION**                         ocT 3 0   2015

                                                                                U'S. COURT OF
                                                                               FEDERAL   CljIMS
    KEITH RUSSELL JUDD,
                                                      Pro Se; Frivolous Lawsuit; Collateral
                   Pro Se Plaintiff,                  Attack on Criminal Conviction;
                                                      Motion to Dismiss for Lack of
                                                      Jurisdiction; Bar on Filing Further
                                                      Claims
    THE I.JNITED STATES,

                           De fendant.



                                    ORDER OF DISMISSAL

       This case comes before the court on defendant's motion to dismiss the complaint
of plaintiff Keith R. Judd under Rule of the Court of Federal Claims ("RCFC') 12(bXl)
for lack of subject matter jurisdiction. Mr. Judd's complaint, filed on June 9,2015.
challenges the $200 felony assessment fee and $20,000 fine he was required to pay
following his 1999 conviction for mailing threatening communications in violation of 18
U.S.C. $ 876, see United States v. Judd,252F.3d 435 (5th Cir.200l).

        Mr. Judd has filed "hundreds of frivolous or meritless complaints in federal
district courts and appeals courts throughout the nation," Judd v. Furgeson, Civ. No. 01-
4217,2012 WL 5451273, at *5 (D.N.J. Nov. 5, 2012),r including four previous
complaints in this court, each of which has been dismissed.2 In 1999. the Supreme Court
entered an order prohibiting plaintiff filing any further petitions for certiorari in forma
pauperis after his six former petitions were denied as frivolous. Judd v. United States
District Court. et al., 528 U.S. 5, 5 (1999). In this complaint, the fifth filed in this court,

I The United States District Court for the District ofNew Jersey identified more than 200 cases
or appeals, many 1'rivolous, filed by Mr. Judd as of 2002. Judd v. Furgeson ,239 F . Supp 2d 442,
443 n.   I (D.N.J.2002).
2
  This is Mr. Judd's fifth action in this Court. In Judd v United States, No. 05-726C, 2005 wL
 6112661 (Fed. Cl. Dec. 9,2005), affd 189 Fed. App'x 951 (Fed. Cir.2006), Judge Wolski
dismissed claims arising out of Mr. Judd's pretrial diversion agreement for lack of subject-matter
jurisdiction. Mr. Judd's three other prior actions in this Court were also dismissed. See Judd v.
United States, No. 00-596C (Fed. Cl. Oct. 4, 2000); Judd v. United States, No. 02-1327C (Fed.
 Cl. Oct. 28, 2002); Judd v. United States, No. 08-299C, 2008 WL 4056550 (Fed. Cl. Aug. 6,
2008) affd, 345 F. App'x 539 (Fed. Cir. 2009) (Fed. Cl. Aug. 6, 2008).
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Mr. Judd contends that because he had appeals pending in the United States Court of
Appeals for the Fifth Circuit at the time of his criminal trial and sentencing, his
conviction is null and void.

         The government has moved to dismiss his complaint on the grounds that this court
 lacks jurisdiction to hear claims which amount to a collateral attack on a criminal
 conviction. According to Mr. Judd, the United States Court of Federal Claims has
jurisdiction to hear his case because the fee and fine imposed by the trial court amounted
to an "illegal exaction."

        The court agrees with the govemment. It is well settled that, notwithstanding any
jurisdiction this court may have over claims for illegal exaction, this court "lacks
jurisdiction to consider claims which amount to collateral attacks on criminal
 convictions." Beadles v. United States, 115 Fed. CL.242,245 (2014) (quoting Perkins v.
 United States, No. l3-023C, 2013 WL 3958350, at *3 (Fed.Cl. July 31, 2013) (citing
 Carter v. United States,228 Cr.Cl.898, 900 (1981))); see also Fireman v. United States,
 49 Fed. Cl. 290, 293 (2001) ("There is no statute that gives this Court jurisdiction to
 collaterally review the acts of a federal district court.").

         In this case, Mr. Judd argues that the fine and fee were illegal exactions because
his conviction was illegal. As Mr. Judd states in his response to the govemment's
motion: "It is clear that the district court did not have jurisdiction for trial on June 23,
 1999 or sentencing on September 27,1999." Pl.'s Opp. 6. Therefore, according to
plaintiff, his conviction and sentence "is a nullity and wholly void." Id. In order to
decide Mr. Judd's so-called "illegal exaction" claim, the court must necessarily review
the validity of his conviction and sentence in the district court. Plaintiffs claim therefore
"amount[s] to a collateral attack[]" on his sentence. Beadles, 115 Fed. Cl. at 245. In
Fireman, the court found that a challenge to a criminal fine on the grounds that it was
excessive in violation of the Eighth Amendment amounted to collateral attack on an act
of the a federal district court. Fireman,49 Fed. Cl. at 293. Therefore, the court found
that it had "no jurisdiction over any claim purporting to review criminal fines imposed by
federal courts on the ground that the fine violates the Eighth Amendment." Id.
Plaintiff s complaint ask this court to conduct a similarly disallowed review of a district
court's action.

        Rather than seeking to indirectly attack his conviction in this court, Mr. Judd's
 remedy was to appeal his conviction in the proper federal court. Perkins v. United States,
No. l3-023C,2013 WL 3958350, at *3 (Fed. Cl. July 31,2013) (quoting Carter,228
 Ct.Cl. at 900 (finding that "[i]fplaintiff had valid constitutional defenses to his
 convictions on criminal charges, he should have asserted them on appeal in the proper
 court.") He cannot collaterally attack his conviction and sentence in this court. Smith v.
United States, 36 F. App'x 444, 446 (Fed. Cir. 2002) (quoting Joshua v. United States. 17
F.3d 378, 380 (Fed. Cir. 1994) (finding that the "Court ofFederal Claims does not have
jurisdiction to review the decisions ofdistrict courts . . . relating to proceedings before
those courts."). Consequently, even under the less stringent pleading standards
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applicable to pro se litigants, Mr. Judd has failed to establish jurisdiction. See Wilson v.
United States,404 F. App'x499, 500 (Fed. Cir.2010) (["L]enientpleading standards
cannot forgive a failure to state a claim that falls within the court's jurisdiction." (citing
Henke v. United States, 60 F.3d 795,799 (Fed. Cir. 1995)).

        Therefore, the government's motion to dismiss is GRANTED. The Clerk is
directed to dismiss the case. The Clerk is further directed to accept no other actions or
filing by Keith R. Judd without an order from the Chief Judge of the United State s Court
of Federal Claims. In seeking leave to file any actions in this court in the future, Mr.
Judd must explain how his complaint raises new matters properly before this court. See
RCFC I l(b) (baning the filing of unwarranted or frivolous claims). No costs.


       IT IS SO ORDERED.




                                                             Judge
